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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Michael Jason Smith,                           )
                                               )       Case Nos. 4:13-cr-008 and 4:13-cr-066
               Defendant.                      )

       Defendant is presently in federal custody awaiting sentencing in Case Nos. 4:13-cr-008 and

4:13-cr-066. On August 6, 2014, he a filed motions requesting that he be released from custody and

placed at North Dakota Teen Challenge (ND Teen Challenge) in Mandan, North Dakota, where he

would presumably receive drug treatment and counseling.

       On August 8, 2014, the Government filed a response in opposition to defendant’s motions.

It avers that defendant’s request to reside at ND Teen Challenge cannot be effected as a practical

matter by virtue of the fact that authorities in Jefferson County, Colorado, have filed a detainer on

him with the United States Marshal. It also avers that, given the anticipated sentencing guideline

range, defendant is likely to be sentenced to a term of imprisonment beyond that which he has

presently served.

       The court is not inclined to grant his request given defendant’s present circumstances. As

the Government has pointed out, Colorado authorities have filed a detainer on defendant. Thus, if

the court granted his request, he would remain in custody (albeit state as opposed to federal),

whereby this court would be required to writ him out for future court appearances in this district and

bear the cost of transport. And, if defendant is released in Colorado, there remains a substantial risk


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of his nonappearance for further proceedings in this district. Defendant’s motions (Case No. 4:13-

cr-008, Docket No. 31; Case No. 4:13-cr-066, Docket No. 651) are therefore DENIED.

       IT IS SO ORDERED.

       Dated this 12th day of August, 2014.

                                                    /s/ Charles S. Miller, Jr.
                                                    Charles S. Miller, Jr., Magistrate Judge
                                                    United States District Court




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